Case 1:22-cv-02353-JPH-MG          Document 82           Filed 12/04/24   Page 1 of 2 PageID #: 766




                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  THE CINCINNATI SPECIALTY             )
  UNDERWRITERS INSURANCE COMPANY,      )
                                       )
                    Plaintiff,         )
                                       ) CASE NO.: 1:22-cv-2353-JPH-MG
        v.                             )
                                       )
  SUPERIOR TACTICAL RESPONSE           )
  AGENCY, LLC, and DONNA RAPIER,       )
  PERSONAL REPRESENTATIVE OF THE       )
  ESTATE OF RODDRICK K. FAULKNER, SR., )
  ON BEHALF OF THE ESTATE OF RODDRICK )
  K. FAULKNER, SR.,                    )
                                       )
                    Defendants.        )

             VOLUNTARY STIPULATION OF DISMISSAL WITH PREJUDICE

         Come now the Plaintiff, The Cincinnati Specialty Underwriters Insurance Company

  (CSU), and Defendant, Donna Rapier Personal Representative of the Estate of Roddrick K.

  Faulkner, Sr., on Behalf of the Estate of Roddrick K. Faulkner, Sr. (Estate), and hereby submit

  this Voluntary Stipulation of Dismissal with Prejudice of all remaining unadjudicated claims and

  counterclaims under Fed. R. Civ. P. 41(a)(1)(A)(ii).

         The parties stipulate that the Court, in its Order of September 13, 2024, granted a partial

  Summary Judgment declaring and adjudicating the rights of all parties on the issue of the

  pertinent Policy Limit of $25,000. The parties have thereafter reached a settlement, and

  voluntarily stipulate to the dismissal with prejudice of all remaining unadjudicated claims and

  counterclaims, including but not limited to all claims asserted by the Estate on grounds of

  assignment from co-defendant Superior Tactical Response Agency, LLC. Each party will pay its

  own attorneys’ fees, costs, and expenses.
Case 1:22-cv-02353-JPH-MG   Document 82    Filed 12/04/24        Page 2 of 2 PageID #: 767




                                    Respectfully submitted,

                                    Counsel for Plaintiff, CSU

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